    Case 1:22-cv-00520-MAV-JJM             Document 383         Filed 05/20/25      Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________

JOHN WALKER,

               Plaintiff,                             Civil Action No. 22-cv-520
       v.

COUNTY OF ERIE,

            Defendant.
___________________________________

               COUNTY OF ERIE’S NOTICE OF POST-TRIAL MOTION
             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 59(a)

         PLEASE TAKE NOTICE that upon the accompanying Declaration of Kirstie A. Means,
Esq. dated May 20, 2025 with Exhibits A through F and Memorandum of Law dated May 20, 2025,
Defendant County of Erie (the “County”), by and through its attorneys, hereby moves for an Order
granting: (i) a new trial or in the alternative, a conditional order of remittitur of the jury’s award
pursuant to Federal Rule of Civil Procedure 59(a), (ii) together with any such other and further
relief the Court deems just and proper. Pursuant to Local Rule 7(a)(1), the County requests and
notes its intent to file reply papers.

Dated: May 20, 2025

                                                      LIPPES MATHIAS LLP

                                                      s/Kirstie A. Means
                                                      Jennifer C. Persico, Esq.
                                                      Brian C. Mahoney, Esq.
                                                      James. P. Blenk, Esq.
                                                      Kirstie A. Means, Esq.
                                                      Thomas R. Southard, Esq.
                                                      Attorneys for Defendant, County of Erie
                                                      50 Fountain Plaza, Suite 1700
                                                      Buffalo, New York 14202
                                                      (716) 853-5100
                                                      jpersico@lippes.com
                                                      bmahoney@lippes.com
                                                      jblenk@lippes.com
                                                      kmeans@lippes.com
                                                      tsouthard@lippes.com
